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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 15-cv-02507-JLK

  KYLE JEFFERY SCHWARK,

          Plaintiff,
  v.

  SHERIFF FRED WEGENER, in his official and individual
  capacities; NURSE SUSAN CANTERBURY, in her individual
  capacity; NURSE JERI SWANN, in her individual capacity;
  NURSE CATHLENE PEARCE, in her individual capacity;
  DOCTOR KATHERINE FITTING, in her individual capacity,

       Defendants.
 _____________________________________________________________________________

                    AFFIDAVIT OF JONATHAN I. RITVO, M.D.
 ______________________________________________________________________________

         I, Jonathan I. Ritvo, M.D., being over 18 years of age and being duly sworn, hereby declare
 and state under oath as follows:

       1.     I am a licensed physician and board certified by the American Board of Psychiatry
 and Neurology, with a subspecialty certification in Addiction Psychiatry.

        2.     I was asked to review medical and jail records and other materials pertaining to
 Kyle Schwark, specifically in regard to the issue of causation and the care Dr. Katherine Fitting
 provided to Mr. Schwark during his November 2013 and February 2014 incarcerations at the Park
 County Jail.

        3.      I am substantially familiar with the standard of care as it relates to treating patients
 with substance abuse disorders and the standard of care is similar for internal medicine physicians
 and psychiatrists when they are treating patients with these conditions.

         4.     Suboxone is a drug typically used to prevent relapse in opiate addiction. It is a long
 acting opiate used to reduce the cravings to use illegal opiates, and can be a street drug of abuse.
 Alprazolam (Xanax) is a benzodiazepine which may be used to treat anxiety, may be provided in
 extended release or short acting form, and it has a high abuse potential. Librium is a long-acting
 benzodiazepine often used for alcohol withdrawal.




                                                                                                      Exhibit K
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        5.      Based on my review of the records, prior to Mr. Schwark’s incarceration in
 November 2013, he was being intermittently prescribed Suboxone and Xanax from Dr. Singer, is
 primary care provider.

         6.      According to the Medication Administration Sheets and other pertinent
 documentation, Mr. Schwark was provided Suboxone, and Xanax on November 13, 2013. Mr.
 Schwark was also provided Suboxone and Xanax on the morning of November 14, 2013 prior to
 his seizure at approximately 12:40 p.m.

         7.      Following Mr. Schwark’s apparent seizure on November 14, 2013, he was
 appropriately taken to the medical unit to avoid the risk of suffering an additional seizure in the
 jail Pod. Dr. Fitting was notified of Mr. Schwark’s status, and it was entirely appropriate to plan
 to monitor him in the medical unit.

        8.     It was also appropriate for Dr. Fitting to order Librium and order Mr. Schwark be
 taken off Xanax and placed on an alcohol withdrawal protocol in light of Dr. Fitting’s concern that
 Mr. Schwark may have been actively withdrawing from alcohol. It is reasonable to stop a person’s
 Xanax when starting Librium and an alcohol withdrawal protocol is often linked to additional
 medication orders like Librium.

         9.      There was nothing about Mr. Schwark’s condition at that time of his first seizure
 that required immediate transfer for outside care.

         10.     With respect to the cause of Mr. Schwark’s seizure, it is more medically probable
 than not the cause of Mr. Schwark’s seizure was from alcohol withdrawal. Mr. Schwark continued
 to receive his Court ordered medications prior to his seizure. Mr. Schwark had two doses of Xanax
 in the 24-hour period before his seizure. As such, it is not reasonable to believe that Mr. Schwark’s
 seizure was a result of Xanax withdrawal.

        11.      According to the Medication Administration Sheet and other pertinent
 documentation relating to the February 2014 incarceration, Dr. Fitting discontinued Mr. Schwark’s
 Suboxone and did not provide Chlordiazepoxide. Instead of the Chlordiazepoxide (Librium), Mr.
 Schwark was placed on a Xanax weaning protocol in order to help wean him from his chronically
 used Xanax, which involved being provided Xanax 1 mg, three times per day for three days, twice
 per day for three days, and once per day for three days.

        12.     Dr. Fitting’s management of Mr. Schwark’s medications during his February 2014
 incarceration was appropriate. Dr. Fitting’s decision to remove Mr. Schwark from his Suboxone
 was reasonable since Mr. Schwark was going to be in jail and would not be at risk of taking other
 opioids during that time. Dr. Fitting’s implementation of the Xanax weaning protocol was also
 appropriate as benzodiazepines are not allowed on a long term basis in the jail setting. Dr. Fitting
 followed a standard course for benzodiazepine withdrawal. This provided protection from alcohol
 withdrawal and allowed time to monitor his response, and to adjust his medications as needed.



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         13. When Mr. Schwark demonstrated some evidence of hallucinations, it was reasonable
 to slow the taper of his Xanax, as was done in this case and refer him to the mental health specialist.

         14.     With respect to Mr. Schwark’s apparent psychotic episode during his second
 incarceration in February 2014, it is my opinion to a reasonable degree of medical probability that
 Mr. Schwark was not withdrawing from benzodiazepines because his medications were being
 appropriately managed. It is also not consistent for a discontinuation of Suboxone to be expected
 to cause a psychosis, and Mr. Schwark was not discontinued from Librium. Instead, it was most
 likely the result of alcohol withdraw and the benzodiazepine he was on would have assisted him
 with that condition.

         15.    In summary, the care Dr. Fitting provided to Mr. Schwark was well within the
 standard of care and did not rise to a level of deliberate indifference of his medical needs. Mr.
 Schwark was receiving the appropriate medications and treatment to try to avoid withdrawal
 symptoms, and nothing Dr. Fitting did or did not do was a cause of Mr. Schwark’s alleged
 injuries, damages, or losses.


 FURTHER AFFIANT SAYETH NOT.




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              Dated this .E_ day of May, 2017.




       STATE OF COLORADO                    )
                                            ) SS.
       COUNTY OF                            )

The foregoing Affidavit      on a I. Ritvo, M.D. was subscribed and sworn to before me by
Jonathan I. Ritvo, M.D. this ~day of May, 2017.




              Witness my hand and official seal.

              My Commission Expires: ~------­
                     MERNA M SKIPWORTH
                     [SE.MltARY PUBLIC
                      STATE"OF COLORADO
                     NOTARY ID 20004012038
                 MY COMMISSION EXPIRES 0412112020




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